        Case 2:15-cr-00266-RFB-VCF          Document 136     Filed 04/10/17    Page 1 of 1




1                                     UNITED STATES DISTRICT COURT

2                                         DISTRICT OF NEVADA

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5
      UNITED STATES OF AMERICA,
6
                         Plaintiff,
7                                                     2:15-cr-00266-LDG-VCF
      vs.                                             MINUTE ORDER
8     DENNIS MCPHERSON, et al.,
9                         Defendants.

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12         Before the Court is Timothy McPherson’s Motion for Joiner to Co-Defendant Dennis McPherson’s
13   Motion to Suppress (ECF No. 132).
14         IT IS HEREBY ORDERED that an evidentiary hearing on the Timothy McPherson’s Motion for
15   Joiner to Co-Defendant Dennis McPherson’s Motion to Suppress (ECF No. 132) is scheduled for 10:00
16   AM, May 1, 2017, in Courtroom 3D.
17         DATED this 10th day of April, 2017.
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                                                            _________________________
19
                                                            CAM FERENBACH
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                                                            UNITED STATES MAGISTRATE JUDGE

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